Case 4:22-cv-00302-RH-MAF Document 114-4 Filed 11/21/22 Page 1 of 4




                   Exhibit 4
        Case 4:22-cv-00302-RH-MAF Document 114-4 Filed 11/21/22 Page 2 of 4
                               Christina Pushaw Volume II
                                    October 18, 2022

· · · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · NORTHERN DISTRICT OF FLORIDA
· · · · · · · · · · · TALLAHASSEE DIVISION

· · · · · · · · · · · · · · · · · CASE NO. 4:22-cv-302-RH-MAF

· · ANDREW H. WARREN,

· · · · ·Plaintiff,

· · vs.

·   ·   RON DESANTIS, individually
·   ·   and in his official capacity
·   ·   as Governor of the State
·   ·   of Florida,
·
·   · · · ·Defendant.
·   · __________________________/

· · · · · · · · · · · ·VIDEO DEPOSITION OF
· · · · · · · · · · · · CHRISTINA PUSHAW
· · · · · · · · · · · · ·VOLUME II OF II

· · · · · · · · · Taken on Behalf of PLAINTIFF

·   ·   ·   ·   ·   ·   ·   DATE:· · · · · ·October 18, 2022
·   ·   ·   ·   ·   ·   ·   TIME:· · · · · ·10:00 a.m. - 4:38 p.m.
·   ·   ·   ·   ·   ·   ·   PLACE:· · · · · Messer Caparello PA
·   ·   ·   ·   ·   ·   ·   · · · · · · · · 2618 Centennial Place
·   ·   ·   ·   ·   ·   ·   · · · · · · · · Tallahassee, Florida 32308

· · · · · · Examination of the witness taken before:

· · · · · · · · · · · ·JEFFREY R. BABCOCK
· · · · · · · · · · · · ·Court Reporter
· · · · · · · · · · · Tallahassee, Florida

·

·

·

·

·

·


                            U.S. Legal Support | www.uslegalsupport.com       ·
    Case 4:22-cv-00302-RH-MAF Document 114-4 Filed 11/21/22 Page 3 of 4
                           Christina Pushaw Volume II
                                October 18, 2022

·1· BY MR. CABOU:

·2· · · ·Q.· And if you -- and if that's all you have to say

·3· and you're not going to say anything else, that's okay.

·4· I'll move on.· I just want to make sure that you've

·5· answered the question.

·6· · · · · · · · MR. LEVESQUE:· Object to form.

·7· · · · · · · · THE WITNESS:· As I said a little while ago, I

·8· · · ·wasn't present for deliberations, so I -- I'm not

·9· · · ·going to be able to answer, like, questions about what

10· · · ·was going through his mind when he decided to issue

11· · · ·the suspension.

12· BY MR. CABOU:

13· · · ·Q.· Who is the only person that could answer what was

14· going through the Governor's mind when he decided to

15· suspend Mr. Warren?

16· · · · · · · · MR. LEVESQUE:· Object to form.

17· · · · · · · · THE WITNESS:· I mean, again, I wasn't there,

18· · · ·so I'm not sure how to answer that question.

19· BY MR. CABOU:

20· · · ·Q.· Would Governor DeSantis know what was in Governor

21· DeSantis's mind at the moment he suspended Mr. Warren?

22· · · · · · · · MR. LEVESQUE:· Object to form.

23· · · · · · · · THE WITNESS:· I -- I don't know what was

24· · · ·going through his mind at any given time, so I

25· · · ·wouldn't be able to -- to speculate on that.


                U.S. Legal Support | www.uslegalsupport.com               143
                                                                                YVer1f
      Case 4:22-cv-00302-RH-MAF Document 114-4 Filed 11/21/22 Page 4 of 4
                             Christina Pushaw Volume II
                                  October 18, 2022

·1· · · · · · · · · ·CERTIFICATE OF REPORTER

·2

·3· STATE OF FLORIDA

·4· COUNTY OF LEON

·5
· ·   · · · · · · · I, JEFFREY BABCOCK, do hereby certify that I
·6
· ·   · · ·was authorized to and did stenographically report the
·7
· ·   · · ·deposition of CHRISTINA PUSHAW; that a review of the
·8
· ·   · · ·transcript WAS requested; and that the foregoing
·9
· ·   · · ·transcript, pages 118 through 221, is a true record of
10
· ·   · · ·my stenographic notes.
11
· ·   · · · · · · · I FURTHER CERTIFY that I am not a relative,
12
· ·   · · ·employee, or attorney, or counsel of any of the
13
· ·   · · ·parties, nor am I a relative or employee of any of the
14
· ·   · · ·parties' attorney or counsel connected with the
15
· ·   · · ·action, nor am I financially interested in the action.
16

17
· · · · · · · · · DATED this 22nd day of October, 2022 at
18
· · · · ·Tallahassee, Leon County, Florida.
19

20
· · · · · · · · · · ·_______________________
21
· · · · · · · · · · · ·JEFFREY R. BABCOCK
22
· · · · · · · · · · · · ·Court Reporter
23

24

25


                  U.S. Legal Support | www.uslegalsupport.com               223
